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 6   DANIEL SALAS

 7

 8                               UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA-FRESNO
10

11   UNITED STATES OF AMERICA,                      )   Case Number 1:06 CR 00271 AWI
                                                    )
12                         Plaintiff,               )   ORDER EXONERATING PROPERTY
                                                    )   BOND
13   v.                                             )
                                                    )
14   FRANCISCO REYNAGA, DANIEL                      )
     SALAS and JAIME SALAS,                         )
15                                                  )
                           Defendants.              )
16                                                  )
                                                    )
17
                    GOOD CAUSE APPEARING, upon the voluntary surrender of Daniel Salas at
18
     the time of his entry of his guilty plea, and all previous court appearances having been made, the
19
     property bond posted by his family for Daniel Salas is hereby ordered exonerated.
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21
     IT IS SO ORDERED.
22
     Dated:     September 18, 2007                     /s/ Anthony W. Ishii
23   0m8i78                                      UNITED STATES DISTRICT JUDGE
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     ORDER EXONERATING PROPERTY BOND
